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                                           FINAL LIST OF PROPOSED EXHIBITS

CASE NO. 2020cv02985    PLAINTIFF’S LIST: ☐       DEFENDANT’S LIST: ☒       THIRD PTY DEFTS. LIST: ☐

CASE CAPTION Denver Homeless Out Loud vs. City and County of Denver, et al. DATE December 15 and 16, 2020

LIST PLAINTIFF’S EXHIBITS BY NUMBERS (1, 2, 3, etc.) and DEFENDANT’S BY LETTER (A, B, C, etc.)

EXHIBIT                                    AUTH-                                      RUL.
NO. / LTR   WITNESS    DESCRIPTION         ENTICITY   STIP   OFFER   RECD.     REF.   RSVD.   COMMENTS/ INFO.


A                      Grace Marx Email    X          X      X       12/16

                       Photos of garbage                             12/16
B                      at site                               X

                       Photos of Posted
                       Temporary Area                                1/11
C                      Restrictions

                       Photos of trash,
                       drug parapherna-
                       lia and blood at                              12/16
D                      Lincoln Park                          X

                       Photos of trash,
                       drug parapherna-
                                                                     1/11
                       lia and blood at
E                      Morey
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EXHIBIT                                    AUTH-                                    RUL.
NO. / LTR   WITNESS   DESCRIPTION          ENTICITY   STIP   OFFER   RECD.   REF.   RSVD.   COMMENTS/ INFO.

                      Photo of posted
                      Temporary Area                                 12/16
F                     Restriction notice                     X

                      Video Exhibit 1 -
                      Excerpt of Ser-
                      geant Brian
                      Conover’s June
                      17, 2020 Body
                      Worn Camera
                      (“BWC”), record-
                      ed near 22nd and
G                     Champa Streets       X

                      Video Exhibit 2 -
                      Excerpt of Ser-
                      geant Brian
                      Conover’s June
                                                                     12/16
                      17, 2020 BWC,
                      recorded near
                      22nd and Champa
H                     Streets           X                    X
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EXHIBIT                                AUTH-                                    RUL.
NO. / LTR   WITNESS   DESCRIPTION      ENTICITY   STIP   OFFER   RECD.   REF.   RSVD.   COMMENTS/ INFO.

                      Video Exhibit 3 -
                      Excerpt of Ser-
                      geant Brian
                      Conover’s June
                      17, 2020 BWC,                              12/16
                      recorded near
                      22nd and Champa
I                     Streets           X                X

                      Video Exhibit 4 -
                      Excerpt of Ser-
                      geant Brian
                      Conover’s June
                      17, 2020 BWC,                              12/16
                      recorded near
                      22nd and Champa
J                     Streets           X                X

                      Video Exhibit 5 -
                      Excerpt of Ser-
                      geant Brian
                      Conover’s June
                      17, 2020 BWC,
                      recorded near
                      22nd and Champa
K                     Streets           X
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EXHIBIT                                    AUTH-                                    RUL.
NO. / LTR   WITNESS   DESCRIPTION          ENTICITY   STIP   OFFER   RECD.   REF.   RSVD.   COMMENTS/ INFO.

                      Video Exhibit 6 -
                      Excerpt of Ser-
                      geant Brian
                      Conover’s July 29,                             1/11
                      2020 BWC, rec-
                      orded in or
                      around Lincoln
L                     Park                 X

                      Video Exhibit 7 -
                      Excerpt of Officer
                      Darren Ulrich’s
                      July 29, 2020                                  1/11
                      BWC, recorded in
                      or around Lincoln
M                     Park                 X

                      Video Exhibit 8 -
                      Excerpt of Officer
                      Darren Ulrich’s
                      July 29, 2020
                                                                     12/16
                      BWC, recorded in
                      or around Lincoln
N                     Park                 X                 X
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EXHIBIT                                    AUTH-                                    RUL.
NO. / LTR   WITNESS   DESCRIPTION          ENTICITY   STIP   OFFER   RECD.   REF.   RSVD.   COMMENTS/ INFO.

                      Video Exhibit 9 -
                      Excerpt of Officer
                      Toby Wilson’s July
                                                                     1/11
                      29, 2020 BWC,
                      recorded in or
                      around Lincoln
O                     Park               X

                      Video Exhibit 10 -
                      Excerpt of Officer
                      Toby Wilson’s July
                      29, 2020 BWC,                                  1/11
                      recorded in or
                      around Lincoln
P                     Park               X

                      Video Exhibit 11 -
                      Phone camera
                      video document-
                      ing the conditions                             12/16
                      in Lincoln Park on
Q                     July 29, 2020                          X
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EXHIBIT                                    AUTH-                                    RUL.
NO. / LTR   WITNESS   DESCRIPTION          ENTICITY   STIP   OFFER   RECD.   REF.   RSVD.   COMMENTS/ INFO.

                      Video Exhibit 12 -
                      Phone camera
                      video document-
                      ing the conditions
                      in Lincoln Park on                             12/16
R                     July 29, 2020                          X

                      Video Exhibit 13 -
                      Excerpt of Officer
                      Toby Wilson’s
                      August 5, 2020
                                                                     12/16
                      BWC, recorded
                      near Morey Mid-
S                     dle School           X                 X

                      Video Exhibit 14 -
                      Excerpt of Officer
                      Toby Wilson’s
                      August 5, 2020
                      BWC, recorded
                      near Morey Mid-
T                     dle School           X
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EXHIBIT                                     AUTH-                                    RUL.
NO. / LTR   WITNESS   DESCRIPTION           ENTICITY   STIP   OFFER   RECD.   REF.   RSVD.   COMMENTS/ INFO.

                      Video Exhibit 15 -
                      Excerpt of Officer
                      Toby Wilson’s                                   1/11
                      August 5, 2020
                      BWC, recorded
                      near Morey Mid-
U                     dle School            X

                      Photo of sharps
                      collected in Lin-
                      coln Park, July 21,
V                     2020

                      Parks Incident
                      Report, July 17,                                1/11
W                     2020                  X

                      Area Restriction
                      notice, Lincoln                                 12/16
X                     Park                  X          X

                      Denver County
                      Point-in-Time
Y                     Count 2020            X          X
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EXHIBIT                                   AUTH-                                    RUL.
NO. / LTR   WITNESS   DESCRIPTION         ENTICITY   STIP   OFFER   RECD.   REF.   RSVD.   COMMENTS/ INFO.

                      Homeless Man-
                      agement Infor-
                      mation System
                      (HMIS) data, Oc-
                      tober 1, 2019 -
Z                     October 1, 2020     X          X

                      Denver Public
                      Health Outreach
                      Testing Among
                      People Experienc-
                      ing Homelessness
                      (updated Decem-
A1                    ber 7, 2020)        X

                      Communicable
                      Diseases Affecting
                      People Experienc-
                      ing Homeless-                                 12/16
                      ness: Week of
A2                    December 6, 2020 X             X

                      Deaths in the
                      Population Expe-
                      riencing Home-
                      lessness in Den-
                      ver (2019-2020)
                      (updated Decem-
A3                    ber 7, 2020)        X          X
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EXHIBIT                                   AUTH-                                    RUL.
NO. / LTR   WITNESS   DESCRIPTION         ENTICITY   STIP   OFFER   RECD.   REF.   RSVD.   COMMENTS/ INFO.

                      CORRECTED:
                      COVID-19 in Peo-
                      ple Experiencing
                      Homelessness in
                      Denver (updated                               12/16
                      December 8,
                      2020, with correc-
A4                    tion on slide #3)  X           X

                      Denver Public
                      Health Outreach
                      Testing: Commu-
                      nity Testing                                  12/16
                      Events (updated
                      December 7,
A5                    2020)               X                 X

                      Document 84-22
                      Request for Pro-
A6                    posal               X

                      BWC video of Of-
                      ficer Martinez at
A7                    Lincoln Park        X

                      BWC video of Of-
                      ficer Martinez at
A8                    Lincoln Park        X
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EXHIBIT                                    AUTH-                                    RUL.
NO. / LTR   WITNESS   DESCRIPTION          ENTICITY   STIP   OFFER   RECD.   REF.   RSVD.   COMMENTS/ INFO.

                      CV of William J.
                                                                     12/16
A9                    Burman, M.D.         X                 X

                      BWC video of Of-
                      ficer Udland at
                                                                     12/16
                      South Platte,
A10                   Sept. 15, 2020       X                 X

                      Lincoln Memorial
                      Ops Plan, July 29                              12/16
A11                   2020                 X          X      X

                      Photo of tents at
                                                                     1/11
A12                   Lincoln Park

                      Photo of tents at                              1/11
A13                   Lincoln Park

                      Restroom and
                      Hand Washing                                   12/16
A14                   Map                  X                 X

                      BWC video of Sgt.
                      Conover at Lin-
A15                   coln Park            X

                      Excerpt of Officer
                      Toby Wilson’s                                  1/11
                      August 19, 2020
A16                   BWC, recorded
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EXHIBIT                                    AUTH-                                    RUL.
NO. / LTR   WITNESS   DESCRIPTION          ENTICITY   STIP   OFFER   RECD.   REF.   RSVD.   COMMENTS/ INFO.
                      around 29th and
                      Glenarm

                      Excerpt of Officer
                      Toby Wilson’s
                      August 19, 2020
                      BWC, recorded                                  1/11
                      around 29th and
A17                   Glenarm

                      Excerpt of Officer
                      Toby Wilson’s
                      August 19, 2020
                      BWC, recorded                                  1/11
                      around 29th and
A18                   Glenarm

                      Screengrab from
                      Officer Jon Ud-
                      land‘s August 19,
                                                                     1/11
                      2020 BWC rec-
                      orded around
A19                   29th and Glenarm

                      Photos of fire
                      damage on Janu-                                1/11
                      ary 5, 2021 near
A20                   22nd and Champa
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EXHIBIT                                     AUTH-                                    RUL.
NO. / LTR   WITNESS   DESCRIPTION           ENTICITY   STIP   OFFER   RECD.   REF.   RSVD.   COMMENTS/ INFO.

                      Photos of S. Platte
                      conditions taken
                      on September 15                                 1/11
A21                   and 16

                      Any exhibit nec-
                      essary for im-
                      peachment or re-
                      buttal
